          Case 2:18-cv-04375-CFK Document 26 Filed 01/07/19 Page 1of1




                      IN THE UNITED STATES DISTRICT COURT FOR
                       THE EASTERN DISTRICT OF PENNSYLVANIA
                               PHILADELPHIA DIVISION


 JAMES EVERETT SHELTON AND JON
 FREY, on behalf of themselves and others
 similarly situated,

                 Plaintiffs,
                                                        Case No. 2:18-cv-4375-CFK
 vs.

 DIRECT ENERGY, LP and KAA ENERGY,                     COMPLAINT - CLASS ACTION
 INC.

                Defendants.


                c     L--
               ~.~ORDER ON UNOPPOSED MOTION
               'UYJAMES EVERETT SHELTON TO TRANSFER VENUE

       Before the Court is the unopposed motion of the plaintiff James Everett Shelton to

transfer this matter to the United States District Court for the Northern District of Ohio,

Cleveland Division, pursuant to 28 U.S.C. § 1404(a). The motion is GRANTED. This civil

action shall be transferred to the United States District Court for the Northern District of Ohio,

Cleveland Division.


       IT IS SO ORDERED.

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